Case 1:05-cv-01068-.]DT-STA Document 18 Filed 04/18/05 Page 1 of 4 Page|D 7

tr'LED BY
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|N THE UN|TED STATES D|SCTRICT COURTCOURT M D-C
FOR THE WESTERN D|STR|CT OF TENNESSEE
EASTERN D|V|SlON

CHARLES M. FL|PP|N and
KATHER|NE C. FL|PP|N,

 

Piaintiffs,

Case No: 05-1068 T/An
JURY DE|W-\ND

V.

|V|ERCK & CO., |NC.; N|CHOLAS TERR¥,
WARREN, DPH; STEVE C. JACKSON, DPH;
R|CHARD W. HAYES, DPM; STEPHAN|E

B. (BUCK) |SON; COURTNEY SHAY
(|NGRAN|) MC|V|AK|N; VlNAY KR|SHAN
SOOD; MEL|SSA CAROL (|V|CALL|STER)
BARNES; M|CHAEL R|CHARDS, PATR|C|A
BLASINGAME and SCOTT EVANS,

\_/\_/H_/\_r\.,r\_/`-_/\_/\_/\_/\_/\_/\_l\,r\_/Vv

Defendants.

 

ORDER OF SUBST|TUT[ON

 

it appearing to the Court that Thomas N|. Donne||, Jr. of the law firm of Stewart,
Estes & Donne|l in Nashvii|e, Tennessee should be substituted for Attorney Jarnes |V|.
Doran, Jr. of the law firm of Wa||er Lansden Dortch & Davis, PLLC in Nashvii|e, Tennessee
as counsel for record for Defendants Nicho|as Terry Warrenl DPH, Steve C. Jackson,
DPH, and Richard W. Hayes, DPM.

it is therefore ORDERED that Thomas |V|. Donne|l, Jr. of the law firm of Stewart,
Estes & Donne|| is substituted for Attorney James M. Doran, Jr. ot the law firm of \Na||er
Lansden Dortch & Davis, PLLC as attorney of record for Defendants Nicho|as Terry

Warren, DPH, Steve C. Jackson, DPH, and Richard VV. Hayes, DPM.

270017 Tnis document entered on the docket sheet in compilance
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with Flule 58 andjor 79 (a} FHCP on f 19 19 [Q

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Case 1:05-cv-01068-.]DT-STA Document 18 Filed 04/18/05 Page 2 of 4 Page|D 8

w

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Signed this z 8 day of .Li\pri|1 2005.

growth

JUDG

APPROVED FOR ENTRY:

WALLER LANSDEN DORTCH & DAV|S, PLLC

Bx)M//\%~ L./j 4!"9/3_'~*~'©& iu "
James M. O'oran, Jr., #263§
511 Union Street, Suite 27 0
Nashvi||e,TN 37219

(615) 244-6380

STEVVART, ESTES & DONNELL

BF/'U@»M/@

thomas M. Donnen, #3541 ' ’
Financia| Center, Suite 1401

424 Church Street

Nashvi||e, TN 37219

(615) 244-6538

270017

Case 1:05-cv-01068-.]DT-STA Document 18 Filed 04/18/05 Page 3 of 4 Page|D 9

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i hereby certify that a true and exact copy of the foregoing has been served via

United States |Viaii, first class, postage pre-paid, to:

Steven G. Ohrva||, Esq.

T. Robert Hi||, Esq.

Hi|| - Boren, P.C.

1269 North High|and Avenue
P. O. Box 3539

Jackson, TN 38303-3539

this 6| day of March, 2005.

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owen were

Thomas|V|. Donnei| Jr.

 

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This notice confirms a copy of the document docketed as number 18 in
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ESSEE

 

Lela M. Hollabaugh

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Thomas M. Donnell

STEWART ESTES & DONNELL
424 Church St.

Ste. 1401

Nashville, TN 37219--239

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jackson, TN 38303--053

Steven G. Ohrvall
H[LL BOREN

191 .1 efferson Ave.
1\/1emphis7 TN 38103

.1 ames 1\/1. Doran

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Honorable .1 ames Todd
US DISTRICT COURT

